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                                   UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF OHIO
                                          CINCINNATI, OHIO


STATE OF OHIO                    )
                                ) SS
COUNTY OF HAMILTON                )


                            AFFIDAVIT IN SUPPORT OF SEARCH WARRANT



I, JOSEPH ROSSITER, HAVING BEEN DULY SWORN, DEPOSE AND STATE: I am a United States

Postal Inspector, having been so employed since May 2016. I am presently assigned to the Cincinnati

Field Office, Pittsburgh Division of the Postal Inspection Service with investigative responsibility for

southeast Indiana, and southern Ohio.      Part of my investigative responsibility involves the use of the

United States Mail in the transporting of narcotics and other dangerous controlled substances and

financial proceeds relating thereto.



I have become aware that drug traffickers frequently use Priority Mail Express, a business-oriented

overnight service offered by the United States Postal Service, to transport narcotics and other dangerous

controlled substances, and their proceeds or instrumentalities from the sale of the controlled substances.

Your affiant has also become aware that drug traffickers frequently use Priority Mail with delivery

confirmation, a 2-3 day service offered by the United States Postal Service. As a result of investigations

and successful controlled substance prosecutions where the Mail was used, your affiant has learned of

certain characteristics indicative of other Mail items previously identified as containing narcotics or other

dangerous controlled substances, their proceeds or instrumentalities from the sale of the controlled

substances. Some of these characteristics include, but are not necessarily limited to or used on every

occasion, the mailer using different post offices on the same day to send parcels, false or non-existent

return address, addressee is not known to receive mail at the listed delivery address, the parcel is heavily

taped, the parcel is mailed from a known drug source location, labeling information contains misspellings,

the label contains an illegible waiver signature, unusual odors emanating from the parcel, and the listed

address is located in an area of known or suspected drug activity.
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On or about May 11, 2017, I was contacted by Postal Inspectors from the Houston Division that a package

(the "Package") was purchased via the "Dark Web" from a suspect in Houston, TX (the "Suspect"), and

being mailed to an individual in the Cincinnati, OH area. The Suspect was mixing illegal narcotics and

pressing them in to a pill form . Prior packages mailed from the Suspect contained pills made of mixtures

of fentanyl, methamphetamines, Adderall, and oxycodone. The Package was identified as Priority Mail

Package tracking number 9405536897846184120365 addressed to Devin Fuller, 4715 Central Avenue

Apartment 2, Middletown, OH 45044 with a return address of Trevor Gray, 10411 South Drive, Houston,

TX 77099. The Package was intercepted at the Middletown Post Office by management and sent to my

office.



I did a check in Clear on the Package's destination address, 4715 Central Avenue Apartment 2,

Middletown, OH 45044. Clear is a law enforcement database that is used as a tool for investigators to

identify person/business and address information.         According to Clear, the name "Devin Fuller" is

associated with 4715 Central Avenue Apartment 2, Middletown, OH 45044.



I did a check in Clear on the Package's         return address, 10411 South Drive, Houston, TX 77099.

According to Clear the name 'Trevor Gray" is not associated with 10411 South Drive, Houston, TX 77099.



On or about May 22, 2017, Drug Enforcement Administration ("DEA") Task Force Officer William Conrad

was contacted to arrange for a narcotic canine to check the Package. DEA Task Force Officer William

Conrad responded to the Cincinnati Postal Inspection Service office, Cincinnati, Ohio, where the Package

was placed in a controlled area and presented to narcotic canine, "Joey." "Joey" alerted positively to the

presence or odor of a controlled substance or their proceeds or instrumentalities upon the Package. As

noted above, attached herewith, and made part hereof by reference, is a photocopy of the narcotic canine

handler's record of examination.



The Package is further identified as follows: a yellow, flat envelope 9" x 7" in size, bearing tracking number

9405536897846184120365, weighing 10 ounces, postmarked May 7, 2017; see address information

below:



                                                      2
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                                            Sender:        Trevor Gray
                                                           10411 South Drive
                                                           Houston, TX 77099


                                           Addressee:         Devin Fuller
                                                              4715 Central Ave Apt 2
                                                              Middletown, OH 45044


This information along with the positive alert of narcotic canine "Joey'' is indicative of a drug package or its

proceeds.



Based on the information contained herein, your affiant believes that contained in the Package is a

quantity of a narcotic or other dangerous controlled substance, their proceeds or instrumentalities.



Therefore, a search warrant to open the Package is requested.



Further, your affiant sayeth naught.




{/
Joseph L. Rossiter
Postal Inspector


Subscribed and sworn to and before me this     /1    day of   J,,ip         '2017.



>!;/~~/-~
Honorable Stephanie K. Bowman
United States Magistrate Judge




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                United States Postal Inspection Service
                Pittsburgh Division




                                                          OFFICER AFFIDAVIT


      1. •.    t/l/~c:.p1 ( :,'!(, .../ , am and have been employed by the Cw,~. , Pv luEA
     since ~< 'c . Among other duties, I am currently the assigned handler of narcotics detection
           .     II'      /(
     ca nine h'(J- which is trained and certified in the detection of the presence or odor of narcotics

     described as follows :

     marijuana, cocaine, rnethamphetamine and heroin

    On _        _,S:~IJ.J..~...J.f...:.1_7'------·   at the request of Postal Inspector   (os.s~{rf.I responded to
    Cincinnati Postal Inspection Service office, where                       :f id alert to and indicate upon:
    [describe item]




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                                                                              ~
  Which, based upon my training and experience and that of~ It' indicates there is contained

  within or upon the above described item, the presence or odor of a narcotic or other controlled




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Tr.lephOne: 877-870·2~55
f AX: 513-G8~·800ll
